     Case 3:24-cv-00517-JWD-SDJ       Document 79         10/22/24     Page 1 of 2



                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF LOUISIANA

DARCY ROAKE, et al.,

                              PLAINTIFFS,

v.                                          Civil Action No. 3:24-cv-517

CADE BRUMLEY, et al.,                       Judge: JWD - SDJ

                            DEFENDANTS.




     DEFENDANTS’ UNOPPOSED MOTION TO ADMIT PHYSICAL COPY OF
                      DEFENDANTS’ EXHIBIT
      Case 3:24-cv-00517-JWD-SDJ              Document 79           10/22/24     Page 2 of 2



       At the Court’s request, Defendants respectfully move to admit Defendants’ physical exhibit

discussed at the October 21 hearing. The exhibit is an 11-inch by 14-inch physical copy of the The

Supreme Court & The Lawgivers illustration from the briefing and Defendants’ exhibit book. See ECF

No. 39-1 at 26, 32; ECF No. 39-2 at 9; ECF No. 54 at 12; DEFS_9. Defendants handed this copy to

the courtroom deputy, Ms. Kristie Causey, at the conclusion of the October 21 hearing. This motion

is unopposed. Accordingly, Defendants respectfully requested that the Court admit the copy.



 Dated: October 22, 2024                         Respectfully submitted,

                                                   /s/ J. Benjamin Aguiñaga
                                                 J. BENJAMIN AGUIÑAGA*
                                                   Solicitor General
                                                   /s/ Zachary Faircloth
                                                 ZACHARY FAIRCLOTH (La #39875)
                                                   Principal Deputy Solicitor General
                                                 MORGAN BRUNGARD (La #40298)
                                                   Deputy Solicitor General
                                                 OFFICE OF THE LOUISIANA ATTORNEY
                                                 GENERAL
                                                 1885 North Third Street
                                                 Baton Rouge, LA 70804
                                                 (225) 326-6766
                                                 aguinagab@ag.louisiana.gov
                                                 fairclothz@ag.louisiana.gov

                                                 Counsel for Defendants Cade Brumley, Conrad Appel,
                                                 Judy Armstrong, Kevin Berken, Preston Castille,
                                                 Simone Champagne, Sharon Latten-Clark, Lance
                                                 Harris, Paul Hollis, Sandy Holloway, Stacey Melerine,
                                                 Ronnie Morris, East Baton Rouge Parish School Board,
                                                 Livingston Parish School Board, Vernon Parish School
                                                 Board, and St. Tammany Parish School Board

                                                 *pro hac vice granted




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